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 1                                                                                    Hon. James L. Robart

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 5
                                     UNITED STATES DISTRICT COURT
 6                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 7
      AUBRY MCMAHON,
 8                                                          Case No.: 2:21-cv-00920-JLR
                       Plaintiff,
 9                                                          PLAINTIFF’S RESPONSE TO
              v.                                            DEFENDANT WORLD VISION’S
10                                                          MOTION TO CLARIFY COURT’S
      WORLD VISION, INC.,                                   JULY 24, 2023, ORDER
11
                       Defendant.
12

13           Although the parties disagree about the meaning of the Court’s July 24, 2023, Order

14    Granting Plaintiff’s Motion for Reconsideration, Dkt. No. 44, Plaintiff believes the Order is clear.

15    Plaintiff understands the Court to have held: (1) she had affirmatively proven that Defendant

16    discriminated against her on the basis of sex, sexual orientation, and marital status; (2) the Church

17    Autonomy Doctrine did not bar her claims; and (3) the Court would consider Defendant’s

18    remaining affirmatives defenses (other than subject matter jurisdiction) and the applicability of

19    303 Creative LLC v. Elenis, 143 S. Ct. 2298 (2023), following further briefing. Plaintiff asks the

20    Court to confirm her interpretation of the Order.

21           Because the Court has denied Defendant’s motion (Dkt. No. 46) to the extent it requested

22    reconsideration of the July 24 Order, Plaintiff will not address the assertion that the Court erred by

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 1    recognizing Bostock v. Clayton Cty., GA, 140 S. Ct. 1731, 1741 (2020), is not limited to

 2    discrimination purely on the basis of status. Dkt. No. 46 at 7. This argument does not request

 3    clarification of the Court’s July 24 Order but rather reconsideration of it. The Court’s July 24 Order

 4    correctly applied Bostock. See Dkt. No. 24 at 7; Dkt. No. 33 at 3; Dkt. No. 43 at 2.

 5            Defendant’s contention that its affirmative defense of lack of subject matter jurisdiction

 6    “remains open for argument” is meritless. Dkt. No. 46 at 7. After full briefing, this Court rejected

 7    Defendant’s subject matter jurisdiction argument in its initial summary judgment ruling. Dkt. No.

 8    38 at 13-14. Defendant filed a motion for reconsideration on August 4, 2023, but did not ask the

 9    Court to reconsider its earlier adverse subject matter jurisdiction ruling. Dkt. No. 46 at 1-7. Instead,

10    Defendant asked the Court to allow it to reargue its subject matter jurisdiction defense in future

11    briefing. Id. at 8. If Defendant wanted the Court to revisit its earlier subject matter jurisdiction

12    ruling, Defendant should have included that request in the August 4 Motion for Reconsideration,

13    especially given footnote 3 of the Court’s July 24 Order. Plaintiff should not have to re-brief an

14    issue that the Court has already correctly decided in her favor.

15            The crux of the disagreement between the parties as to the import of the Court’s July 24

16    Order is the extent to which Defendant may continue to argue the Church Autonomy Doctrine

17    precludes Plaintiff’s claims. Plaintiff submits that the Court’s holding on this issue could not have

18    been clearer: “With the benefit of additional briefing and further explanation by the parties, the

19    court reverses course and concludes that the Church Autonomy Doctrine does not bar Ms.

20    McMahon’s claims.” Dkt. 44 at 5:8-10. Defendant’s assertion that the Court’s July 24 Order

21    merely vacated “reliance on Opara/MD,” Dkt. No. 46 at 8, is incorrect. After recognizing that its

22    earlier summary judgment order had erred by analyzing this case under the McDonnell Douglas

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 1    framework, the Court then “determine[d] whether the Church Autonomy Doctrine still bars Ms.

 2    McMahon’s claims.” Dkt. No. 44 at 10. Applying controlling Ninth Circuit precedent, the Court

 3    correctly held that because Plaintiff’s claims could be resolved using neutral principles, the Church

 4    Autonomy Doctrine did not preclude her claims. Id. at 10-11. Defendant’s contention that the July

 5    24 Order analyzed “only the applicability of Opara/MD’s test,” Dkt. No. 47 at 1, is wrong.

 6           There is also no validity to Defendant’s claim that the Church Autonomy Doctrine should

 7    “remain for argument” because the Court’s July 24 Order did not address every one of the cases

 8    Defendant had cited in support of its erroneous contention the doctrine barred Plaintiff’s claims.

 9    Dkt. No. 46 at 7. The initial summary judgment ruling made clear that the Court had considered

10    “the numerous circuit and district court decisions cited by World Vision that support its contention

11    that the Church Autonomy Doctrine….” precluded Plaintiff’s claims. Dkt. No. 38 at 18; id. at 22.

12    The Court then analyzed a number of those cases as well as cases cited by those cases. Id. at 20-

13    22. Plaintiff’s Motion for Reconsideration addressed the cases relied upon by Defendant and the

14    Court, cf. Dkt. No. 47 at 1, and showed why they did not support application of the Church

15    Autonomy Doctrine here. Dkt. No. 40 at 2-5; Dk. No. 43 at 3-4. The Court has now definitively

16    ruled that the Church Autonomy Doctrine does not bar Plaintiff’s claims and has denied

17    Defendant’s motion for reconsideration of that ruling. Dkt. No. 47. The Church Autonomy

18    Doctrine does not “remain for argument.”

19           Equally unavailing is Defendant’s contention that “neutral principles has not been argued,”

20    Dkt. No. 46 at 7; see also id. at 5. Numerous cases that Defendant relied upon, in both its summary

21    judgment briefing and its recent motion for reconsideration, to support its assertion the Church

22    Autonomy Doctrine precludes Plaintiff’s claims hold that the applicability of that doctrine depends

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 1    on whether the dispute can be decided in accordance with neutral or secular principles. E.g., Butler

 2    v. St. Stanislaus Kostka Catholic Academy, 609 F. Supp. 3d 184, 204 (E.D.N.Y. 2022); EEOC v.

 3    Cath. Univ. of Am., 83 F.3d 455, 466 (D.C. Cir. 1996); Bollard v. California Province of the

 4    Society of Jesus, 196 F.3d 940, 950 (9th Cir. 1999); Elvig v. Calvin Presbyterian Church, 375 F.3d

 5    951, 958-65 (9th Cir. 2004). The Court’s initial summary judgment ruling held that the Church

 6    Autonomy Doctrine does not apply where a dispute is capable of being resolved on the basis of

 7    neutral principles. Dkt. No. 38 at 16. Plaintiff’s Motion for Reconsideration specifically argued

 8    that this case could be decided based on neutral principles. Dkt. No. 40 at 2. In responding to that

 9    motion, Defendant had the opportunity to address neutral principles but did not do so. Dkt No. 42.

10    Defendant, however, did brief neutral principles in its now denied motion for reconsideration. Dkt.

11    No. 46 at 4-7. “Neutral principles” has been briefed and the Court determined Plaintiff has

12    established her claims of discrimination using neutral principles of law. Dkt. No. 44 at 10-11.

13    There is no reason for the parties to further brief neutral principles.

14           Counsels’ July 27 meet and confer revealed the parties had quite different understandings

15    about the meaning of the Court’s July 24 Order. For that reason, Plaintiff agreed with Defendant’s

16    suggestion to defer submission of a proposed briefing schedule until the Court ruled on

17    Defendant’s Motion for Reconsideration/Clarification. Dkt. No. 45. The Court has now denied

18    Defendant’s Motion for Reconsideration. Plaintiff sees no lack of clarity in the Court’s rulings. To

19    alleviate Defendant’s apparent uncertainty, Plaintiff requests the Court issue an order reiterating

20    that (1) the Court has already rejected Defendant’s subject matter jurisdiction and Church

21    Autonomy Doctrine arguments, and (2) what remains for decision are Defendant’s other

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 1    affirmative defenses and the applicability, if any, of 303 Creative LLC v Elenis, 143 S. Ct. 2298

 2    (2023).

 3              RESPECTFULLY SUBMITTED this 11th day of August 2023.

 4                                          FRANK FREED SUBIT & THOMAS LLP

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 9                                          I certify that this memorandum contains 1,133 words in
                                            compliance with the Court’s August 8, 2023, Order (Dkt
10                                          47)

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